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Daniel A. De Soto (SBN 205861)

LAW OFFICE OF DANIEL A. DE SOTO
619 South Olive Street, Ste 400

Los Angeles, CA 90014

Telephone: §323§ 743-8995

Facslmile: 323 837-4766

des_otcle gal@ gmail. com

Attorney for Defendant Timothy Glen Curry

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNlA
CHRIS PRINCIPE, Case No: 8:17-cv-00608

Plaintiff,
DECLARATION oF TIMOTHY
"S' GLEN CURRY IN SUPPoRT oF
TIMOTHY GLEN CURRY A/K/A DEFENDANT TIMOTHY GLEN
TIMOTHY TAYSHUN, CURRY’s 0PPosIT10N T0
PLAINITFF’s MoTIoN FOR
D°fe“da”t~ PRELIMINARY INJUNCTION

DATE: December 1, 2017
TIME: 2:30 p.rn.
CTRM: 10 A

Hon. Josephine L. Staton

 

 

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DECI..ARATION OF JENNIFER MCADAM lN SUPPORT OF DEFENHANT TIMOTH¥ GLEN
CURRY’S OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

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D C OF T LEN C Y
I, Timothy Glen Curry, declare:

I am a defendant in this matter, and the facts stated in this declaration are
within my personal knowlede except those stated to be on informatian and
beliet`, and, ifcal}ed upon, I could and would competently testi® to them.

BACKGROUND

1. I am considered a veteran within the cryptocurrency and blo ckchain
techno}ogy space, having been both a student and educator of this technoiogy and
discipline beginning in March 2013- l continue to work with numerous projects
and Teams who focus on blockchaiu innovations and other technological aspects
surrounding the wodd of cryptogmphi:a}ly secured currencies and appEcations-

2. I have co-founded a Consortium Group for cryptocurrency
enthusiasts arolmd the continent ofAfrica and have been a keynote or gerth
speaker in numerous events around Afn'ca over the past 4 years, dealing with
cryptocurrency and blockchain technology

3. I was aproducer and director ofmarketjng for Progression video

magazine and television for seven years. l avidly write in fomms, blogs and

comments throughout the intemet regard ing cryptocurrency, blockchain, and

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OneCoiIL I have contributed to published articles that have been featured in
Bitcoin.com as Wel{ as other cryptocurrency media on the web. I have also been
interviewed regarding my investigations and publishiugs on various radio and
video podcasts, to share information on cryptocmrencies and consumer
protection I have co-a:uthored the published following investigative articles: 1)
June 27, 2016, Buyer Beware, the Definitive OneCoin Poozi Expos e, which has
received over 318,000 views, over a thousand comments, and over 10,000 shares
on Facebook, it was the #1 article for Bitcoin.com for 20].6; 2) October 6, 2016,
on Cointeleg,ra}:»h7 Kec_p Money in the Game: OneCoiu Moves On to New Fantasy
Blockchain; 3) On August 21, 20] 7, Part Dcux, Buyer Beware, in Bitcoin.com; 4)
I also published a OneCr)in article for a Cambodian Ncwspaper,' 5) On July 1,
2016, l appeared on the Crypto Show in 89.1 F.M. in Austfm Texas for an hour
d`scussing the technology of cryptcmulrcncy compared to 0ncCoin’s chains ofits
cryptocurrency; 6) On July 18, 2016, I appeared on the Kefly and Kel]'y Crypto
Radio, for two hour show discussing ()ncCoin and oconomics; 7) On August 23,
2016, I appeared on BlockTalk, a cryptocm'rency video broadcast which l
discussed OneCoin; 8) ()n May 19, 2106, 1 appeared on Dan Hadey Jr.’s show

for an over two hour discussion of OneCoin.

 

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4. Cryptocumzncy schware uses “bloc_kchain” technology which is a
digital ledger which records nansactions publicly It is decentralized, distributed
consensus mec]:zanisln7 Whose algozithms enable the mthematical calculation
verification and recording of transactions Clyptocurrencies and blockchain’s
“don’t trust,” they “Verify!”

BACKGROUND ON ONECOIN

5. l Hrst became aware ofthe Onecoin phenomena when EaceBook
posts and solicitations through social media about the OneCoin alleged
cryptoenrreney caught my attention with flashing red tlags. l eventually attended
a “Onecoin USA Launch” around lime 20}5 in Downey, CA to conduct
interviews of Onecoin leaders and followers who had paid money to join.
Attending the meeting and reviewing OneCoin’s material made me further
suspicious about the legitimacy of OneCoin, and I began to study and research
OueCoin more thoroughly

6, OneCoin was founded by Ruja Ignatova, Sebastian Greenwood, (both
in BigCoiu, Prosper Club and Loopium; collapsed MLM schemes), and CEO Nigel

Allen, a known Ponzi arn'st who was previously associated with Brilliant Carbon

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(se]ling fake carbon credils) and Crypto 888, which were nnamously known
MLM Ponzi/Py'ramid schemes

7. l found that “invesunent” in OneCoin requires you to purchase
education packang (Hom a couple of hundred E\nos to recently 225,090 Eln‘os)
in order to obtain tokens that Would allow you to ‘mine’ the alleged OneCoin
cryptocm'rency, which was a process smq)liiicd by just pushing 2 buttons
However, the company did not oli`er a single tangible piece of evidence of having
a cryptocurrency operation: a) there was no wallet to store tokens or coins; b) No
github describing the code (ie., “Closed Source”); c) No Forums discussing the
project; d.) No Dcvclopmcnt Tl- (huge red flag); c) No CTO, or known
management l) No academic whitepaper; g.) OueCoin didn’t accept
cryptocurrency for any payman but called itselfone, which was a tirst_
The original educational materials were plagiarized- I can provide this evidence to
the Cou!t;

8. Additioua[ly, my research, and the experiments of others how that a
blockchain based OneCoin cryptocurrency has never existed or is broken
Onecoin created a branch OneLit`e Netwolic, due to 0_uecoin stigma It is the

Same people and product

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9. A Ponzi/Pyrarnid scam requires new investor money corning into
pay out existing investors This is how OneCoin was designed Onecoin has no
retailable product or service which it sells- The only money which comes into the
company is generated by recruiting new members into the scheme, who are
invited to purchase the alleged education packages to obtain the “tokens” to mine
the alleged cryptoctrrrency. Members are given a percentage commission of the
money from new members they recruit Recruiting new investors into the
organization may increases both rank and bonuses structures Thus, the scheme
relies on money from new invefstors rather than any retail products or services
Mcmbers who choose not to engage in the binary scheme obtain nothing from
their investment. This is especially true given the questionable reality of the
“cryptocmrency”, which is not nadeable on any cryptocmrency exchange

.10. Based on my research into OneCoin, including reading newspapers,
talking to OneCoin victims, and contact with various OneCoin task force groups
around the world, I have learned that 1) fn Febmary 2017, OneCoin was banned
in Ital_y as an illegal pyramid scheme based on as business 1110ch and fined in
Angnst 201 ? 2.59 million Euros; 2) In April 2017, Germany ordered OneCoin

related companies to Cwse and Desist all operations related to OneCoin, and 'l`rozc

 

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29 million Em‘os offhose companies; 3) In Au,gust 2017, Belize ordered a Cease
and D£$`Bt of all business related to OneCoin; 4)111 May 2017, Hungary put
together a market surveillance task force regarding OneCoin; 4) Ruja Iguatova has
an international arrest wanant in lndizi related to her involvement in OneCoin, and
OncCoin Was declared ‘a clear Ponzi scheme’ and ‘fraud conn)any’ by Indian law
enforcement 6) also in India, 35 people We:re arrested related to OneCoin; 5) in
China 28 people related to OneCoin have been audited for pyramid scheme fraud
related to OneCoin promoting 6) In May 2017, a criminal investigation against
OneCoin Was launched, and in July 2017, OneCoin was banned fro_m Austria; 7)
Swedish authorities have an active OneCoin irwestigation; 8) Fin]and has an active
investigation into OneCoin; 9) London City Po}ice have m active criminal
investigatan into OneCoin in U,K.; 10) warnings against OneCoin have been
issued by Austria, Belgimn, Belize, Bulgaria, Colornbia, Croatia, Curaca<) and St.
Maarten, Finland, Germany, Hungary, India, Italy, chtvia, Luxemburg, Malta,
Maulitius, Netherlands, Nigeria., Pakistan, Poland, Sweden, Thail'¢md, Uganda,
U_nited Kingdom, and Vlemam; 9) OneCoiu does not officially operate in the Unite{

Statc§, Which I believe is out of fear of the U.S-’ strk:t Secmz`ties laws_

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tasks force!police minorities I’m not at libeny to disclose regardmg OneCoin

CHRIS PR]NCIPE’S PROMOTION OF ONECOIN

12. In Febmary 2016, Chris Prwcipe’s nmgazm¢ Pinanciairr printed a
cover image and Z-page advertoz'ial for Ruja Ignatova and Onecoin. This magazine
has been given out at many OneCoin events throughout the world This 52 page
Febrnary 2016 magazine Was an exact reprint and copy of the prior 52 page
January 2016 is.sue, but with new cover and Z-page advert This drew scrutiny

13- In Angust 2016, Cluis Principe’s new magazine Fin-Fut\zre printed
another cover image and 3-page advertorial for Ruja Ignatova and Onec oin, in
addition to 2 hill-pagel full color advertisements for its’ bmnds- l can provide this
evidence to the Court.

14_ Based on my research and investigatioo, based on the videos posted
on YouTnbe, articles regarding OneCoin evenls, OC members social media
postings, blogs_, and from discussion with OneCoin victims, Ch.r`s Principe has
personally appeared as a Keynote Speaker and Presenter at numerous OneCoin

events, including but not limited to: l) lime 2016, in Malaysia; 2) _luly 2016, in

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Japan; 3)Ju1y 2016, in London (labeled “The Leadership Snnlmit on Islarnic
F-inance and Cryptocurrency,” OneCo`m was the only represented
“cryptocurrency,” represented by Pn`ncipe as a Keynote Spcaker); 3) November
20{6, Principe was the Keynote'Speaker at Onel.ife Network ‘Super-Training’
event regarding OneCoin; 4) January 20l7, in Thailand and Vietnam; 5) August
26-27 in Vremam, at the Onel.ife Success Surnmit, another OneCoin related eventm
15. OneCoin uses video ofPrincipe endorsing OneCoin to lure potential
investors to OneCoin. I have seen these videos. rI'he videos featuring Principe
have been translated into Spanish, Viemaniese, Russian, French7 German, Urdu,
and many other languages for promotional use around the world. lo these videos,
Principe is presented as a Enancial expert and magazine publisher In these videos,
he commands OneCoin and OneCoin members/ investors as being “Pioncers.”
16. 0n YonTube there are around a dozen videos of Principe on stage
endorsing OneCoin, and/or Ruja Ignatova, in front of large emwds, as a ceiebrity.
]7_ l have personally viewed a promo piece OneCoin has spread vjialiy
over the intexnet and as a direct endorsement, fmn-,hig Principe’s own words and
the F.IT ana ‘February’ cover; equally mss-translated Mr. Principe is quoted:

“When I Erst heard about OneCoin, I thought it was either a scam or apyra.mid

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scheme Af’cer researching further and getting an opportunity to wierview Dr.
Ignatovra, I was absolutely impressed with the technology backing OneCoin and
their block chain (sic), as well as excited aboth their vision for today’s economy
OneCoin is leading the charge of acquiring the masses into the cryptocurrency
shii`i` across the globe. They’re doing an amazing job at taking what normally is
the complicated idea of cryptocmrency and making it ultra» simple and easy to

understand so anyone can get involved and profit from it.” l have a copy of the

promo piece, videos, and physical copy of the Febmary 2016 “Ruja issue” of F.I'l'

and digital copy of its January original l can present this evidence for the Coun
18. I have viewed a recent video of Chris Principe on YouTube, taken
from a OneCoin event in Phn Quoc, Viemam in August 2017- In the video he is
observed stating the following to the audience: “I know that them is an On.~going
issue thatpeople spread misinformation .. ..that don’t tell the facts -.-that actoa`l]]
lie. And l want you to know that me personally, have taken it upon myself to Hle
a ‘MA}OR LAWSUIT’ in the Fedex~al Conrts oftbe US against one ofi]ie most
notorious people [*that would be me] who spread this information and that this
Case is corning up very soon.” “EE will win that Case. 1115 will stop that

.-.particular person. And then WE will go after all the other people after

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him..-And I thank you all here ‘for your help and kind assistance on this
Case-’” “If you want to know rnore, I’rn happy to speak about it. *Simon (Le)
has much of the dif`ormation- I keep him updated on the progress of the Court
Systern. But l really believe that this is an important wo_rk” that will help ALL
OF US ...So, at great cost --.grent personal sacriiiee, l do this because l believe
in the hard work that everyone here k donag” Based on Chris Principe’s own
words, this ease appearrs to be about Onecoin silencing me, as a journalist arms
and Consmner Protection Advocate, as it has attempted to do to otherjournalists.
Speciiically, Mr. Principe thanks Onecoin members for receiving inside help and
assistance in “this important work.” I can provide this video and the evidence of
OneCoins’ Legal intimidation tactics upon numerous other journalists to the Court
*Note: Simon Le is a “Crown Diamond,” which is the highest global leadership
position attainable in OneCoin reenlitrnent and sales hierarchy

19- l aman Admin to a ‘Onecoin Viciim Snpport Gronp,’ with 176
members and growing weekly. Each one of these people have been defrauded by

OneCoin and seek asset recovery and justice, with the exception of a small

mmber of jom‘nalists or authorities who may be within this OnecCoin group .

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20. AIl of my publications which relate to Clcris Princ`pe have all been
related to his involvement with Onecoin.

21- lfthe injunction were to be granted, it would undermine my ability
and civic duty to continue reporting on OneCoin news-related developments that
the consumers depend upon and which the public have a right to lmow; which is
“the whole truth,” regarding OneCoin. An injunction would tie my hands in
exposing additional facts about a key tigure in the OneCoin organization and a
specific story I am now invesli.gating_ This is an important case to MLM and
cr_yptocmrency, aiike, as it affects people globally. OneCoin claims to have 3.3M
members - an indication to the gravity of your decision l lmow that citizens

Worki-wide arc looking at this case, holding their breath for justice to be served.

l declare under penalty of perjury under the laws of the State of Ca]ifomia that the
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foregoing is n‘ue and correct. Executed in MQ'W"#Y, on November j G’ ,

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